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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

GARCIA GLEN WHITE and                   §
ROBERT CHARLES LADD,                    §
  Plaintiffs,                           §
                                        §
vs.                                     §              CIVIL ACTION NO.
                                        §                     ___________
BRAD LIVINGSTON,                        §
Executive Director,                     §
Texas Department of Criminal            §
Justice,                                §       DEATH PENALTY CASES
                                        §
WILLIAM STEPHENS,                       §
Director, Correctional                  §          GARCIA GLEN WHITE
Institutions Division,                  §               IS SCHEDULED
Texas Department of Criminal            §              FOR EXECUTION
Justice,                                §             JANUARY 28, 2015;
                                        §
JAMES JONES,                            §       ROBERT CHARLES LADD
Senior Warden, Huntsville Unit          §               IS SCHEDULED
Huntsville, Texas,                      §             FOR EXECUTION
                                        §            JANUARY 29, 2015
and                                     §
                                        §
UNKNOWN                                 §
EXECUTIONERS,                           §
  Defendants.


                   PLAINTIFFS’ ORIGINAL COMPLAINT

                               INTRODUCTION

      Late in the day on January 23, 2015, the United States Supreme Court
granted certiorari in the matter of Glossip v. Gross, No. 14-7955, 574 U.S.
___ (Jan. 23, 2015), a case out of Oklahoma challenging that state’s method
of execution by lethal injection. The Order stated only “the petition for a

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writ of certiorari [is] granted.” The Glossip Petition presented the following
questions:

           Question 1: Is it constitutionally permissible for a state to carry out
           an execution using a three-drug protocol where (a) there is a well-
           established scientific consensus that the first drug has no pain
           relieving properties and cannot reliably produce deep, comalike
           unconsciousness, and (b) it is undisputed that there is a substantial,
           constitutionally unacceptable risk of pain and suffering from the
           administration of the second and third drugs when a prisoner is
           conscious.

           Question 2: Does the Baze-plurality stay standard apply when states
           are not using a protocol substantially similar to the one that this Court
           considered in Baze?

           Question 3: Must a prisoner establish the availability of an alternative
           drug formula even if the state’s lethal-injection protocol, as properly
           administered, will violate the Eighth Amendment?

Both question two and three have been central to all prior Texas lethal
injection litigation, and this Circuit’s rejection of same. See Whitaker v.
Livingston, 732 F.3d 465 (5th Cir. 2013).

      On Monday, January 26, the Oklahoma Attorney General filed a
Motion for Stay of Execution of the three Glossip plaintiffs. See Glossip v.
Gross, No. 14-7955, 574 U.S. ___ (filed Jan. 26, 2015).

       Of the five executions scheduled to be carried out in the United States
in the next two weeks, four of them are in Texas. The current protocol of
the Texas Department of Criminal Justice (TDCJ) calls for the injection of
the drug pentobarbital. See Exhibit A. As in Oklahoma, this is a far cry
from the protocol and challenges before the Supreme Court in Baze v. Rees,
553 U.S. 35 (2008). Upon information and belief, Defendants have enough
compounded pentobarbital to carry out four or five more executions –
assumedly including plaintiffs’ executions. See Exhibits B, C, D, E.
However, plaintiffs have substantial and valid concerns that those remaining
drugs are no longer viable, and will cause excruciating pain. Moreover,
Defendants have also recently purchased large quantities of midazolam,
hydromorphone, and potassium chloride. See Exhibit C, E. Midazolam is

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   one of the drugs used in Oklahoma, and is at central issue in the Glossip
   case. Both midazolam and hydromorphone have been used in the worst of
   the botched executions that have taken place over the last year. If
   Defendants’ highly questionable and limited supply of compounded
   pentobarbital cannot be used, plaintiffs assert that they will be subjected to
   the same drug or drugs that are at issue in Glossip, and at the heart of the
   most horrifically botched executions that have taken place over the past
   year.

          THUS, Plaintiffs GARCIA GLEN WHITE and ROBERT LADD,
   prisoners on Texas’ death row, move this Court for entry of judgment in
   their favor against the Texas Department of Criminal Justice and in support
   plead as follows:

                             NATURE OF THE ACTION

1. This action is brought pursuant to 42 U.S.C. § 1983 for violations and
   threatened violations of the right of plaintiffs to be free from cruel and
   unusual punishment under the Eighth and Fourteenth Amendments to the
   United States Constitution. Plaintiffs seek injunctive relief.

                                     PLAINTIFFS

2. Plaintiffs Garcia Glen White and Robert Ladd are persons within the
   jurisdiction of the State of Texas. Both are death-sentenced inmates under
   the supervision of the Texas Department of Criminal Justice, confined at the
   Polunsky Unit in Livingston, Texas. Mr. White is scheduled for execution
   January 28, 2015; Mr. Ladd is scheduled for execution January 29, 2015.

                                    DEFENDANTS

3. Defendant Brad Livingston is the Executive Director of the Texas
   Department of Criminal Justice (“TDCJ”).

4. Defendant William Stephens is the Director of the Correctional Institutions
   Division of the Texas Department of Criminal Justice (“TDCJ”), and holds
   the power, by statute, to determine and supervise the manner by which death
   sentenced inmates are executed. Tex. Code Crim. Proc. art. 43.14.




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5. Defendant James Jones is the Senior Warden of the Huntsville Unit, where
   executions take place.

6. Assistant Attorney General Edward Marshall has identified himself as
   counsel for all Defendants. He has been served via email transmission to
   Edward.Marshall@texasattorneygeneral.gov.

7. Defendants Unknown Executioners are employed by the Texas Department
   of Criminal Justice and carry out executions in Texas. Plaintiffs do not yet
   know their identities because the TDCJ conceals them.

8. The Defendants are all state officials acting, in all respects relevant to this
   action, under color of state law. They are all sued in their official capacities.


                              JURISDICTION & VENUE

9. This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 (federal question),
   1343 (civil rights violations), 2201 (declaratory relief), and 2202 (further
   relief). This action arises under the Eighth and Fourteenth Amendments to
   the United States Constitution and under 42 U.S.C. § 1983.

10. Venue in this Court is proper under 28 U.S.C. § 1391, and this Court has
    personal jurisdiction over the defendants in this matter because the events
    giving rise to this claim – both executions and the procurement and
    maintenance of drugs used in the lethal injection process – occur in
    Huntsville, Texas.

                           EXHAUSTION OF REMEDIES

11. Plaintiffs submit that exhaustion is not required, as there is no
   administrative procedure available to address the issues raised herein.

                                FACTUAL ALLEGATIONS

   The Relevance of the Grant of Certiorari in Glossip, Texas’ Extremely
   Limited Supply of Questionable Compounded Pentobarbital, and Their
   Recent Purchases of Midazolam and Hydromorphone




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12. Prior challenges to Texas’ lethal injection process took place prior to the
    grant of certiorari in Glossip.

13. The second and third questions presented in the Glossip petition reflect the
    issue that has been at the center of all prior Texas lethal injection litigation.
    Defendants’ previous arguments and prior decisions of the Fifth Circuit
    Court of Appeals rejecting lethal injection challenges by Texas condemned
    inmates have relied in significant part on the application of the stay standard
    articulated by the plurality in Baze, including the requirement that plaintiffs
    challenging present day lethal injection methods must present an alternative
    method of execution. See, e.g., Whitaker v. Livingston, 732 F.3d 465 (5th
    Cir. 2013).

14. There is a national shortage of pentobarbital. The raw ingredient (Active
    Pharmaceutical Ingredient, or “API”) necessary to make compounded
    pentobarbital is, upon information and belief, not available for purchase in
    the United States. The increasing shortages heighten concerns about the
    quality and legality of the source from which TDCJ is purchasing its drugs,
    and about the quality and viability of the drugs in TDCJ’s possession.

15. TDCJ’s supply of compounded pentobarbital has been diminishing; current
    supplies are only sufficient to carry out four to five more executions – if no
    back-up vials are consumed in the interim, and if no other mishaps or late
    discovered inadequacies befall the few vials left.

16. TDCJ’s supply of compounded pentobarbital over the past six months has
    been in constant flux, with vials coming and going in odd increments, with
    unexplained returns and exchanges. See Exhibits C, D, and E. This adds to
    concerns about the adequacy, purity, and viability of the drugs TDCJ intends
    to use to execute plaintiffs.

17. Drugs that are compromised, contaminated, expired, or sub-potent would
    cause plaintiffs excruciating pain. See Affidavit of Larry Sasich, Exhibit G,
    para. 25, 30; 33, 46; Affidavit of Dr. David Waisel, Exhibit H, paras. 6-14.1

   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
   1	  The	  affidavits	  of	  Larry	  Sasich	  and	  Dr.	  Waisel	  were	  obtained	  in	  conjunction	  with	  

   prior	  litigation.	  	  They	  thus	  address	  specifics	  as	  to	  Woodlands	  Pharmacy,	  PCCA,	  and	  
   Eagle	  Laboratories	  that	  may	  (or	  may	  not)	  be	  relevant	  to	  these	  proceedings.	  	  
   However,	  the	  affidavits	  also	  provide	  ample	  details	  about	  the	  risks	  of	  compounding	  
   pharmacies	  and	  compounded	  drugs	  more	  generally.	  	  Given	  the	  emergency	  nature	  of	  

   	                                                                                                            5	  
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18. Defendants have exhibited deceptive behavior – including on federal forms
    required for the purchase of controlled substances - in their actions
    surrounding the purchase of execution drugs. Defendants varied, evasive,
    and dilatory responses to requests for information further exemplify
    Defendants’ deceptive practices. See infra; Exhibits B and D.

19. Upon information and belief, TDCJ will not beable to purchase additional
    compounded pentobarbital, and will thus be forced to change their protocol,
    assumedly to one which uses the other lethal drugs they have so amply
    amassed: midazolam, hydromorphone, and / or potassium chloride.

20. There is no requirement that TDCJ give notice of a change in its execution
    protocol. There is nothing to ensure that Defendants will not be forced to or
    choose to change its protocol and administer a different drug or drugs
    (midazolam and or hydromorphone or potassium chloride) to carry out
    plaintiffs’ executions.

   The Botched Executions

21. Recent executions shed light on the substantial risk of serious harm that
    execution drug failure can cause.

22. In October 2012, in South Dakota, Eric Robert was executed using
    compounded pentobarbital. Witnesses reported that he “appeared to clear his
    throat and gasp heavily, at which point his skin turned a blue-purplish hue.
    Mr. Robert opened his eyes and they remained open until his death, and his
    heart continued beating for 10 minutes after he ceased to breathe.” 2

23. Twelve seconds into his January 9, 2014 execution in Oklahoma, which
    utilized a three-drug cocktail that included pentobarbital obtained from an
    unnamed compounding pharmacy, Michael Lee Wilson uttered his chilling
    final words: “I feel my whole body burning.” It is highly likely that the
    tortured execution of Mr. Wilson resulted from contaminated, sub-potent, or
   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
   these	  proceedings,	  plaintiffs	  did	  not	  have	  time	  to	  obtain	  more	  recent	  expert	  
   affidavits.	  
   2	  Missouri	  Execution:	  	  pharmacy	  will	  not	  supply	  compounded	  pentobarbital,	  The	  

   Guardian,	  Feb.	  17,	  2014,	  available	  here:	  	  
   http://www.theguardian.com/world/2014/feb/18/missouri-­‐execution-­‐pharmacy-­‐
   will-­‐not-­‐supply-­‐compounded-­‐pentobarbital.	  

   	                                                                                                                                                                                                                                                                                                                                6	  
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   otherwise sub-par drugs. As expert pharmacologist Larry D. Sasich,
   PharmD, MPH, FASHP stated: "It is my opinion that Mr. Wilson's reaction
   is consistent with contaminated pentobarbital sodium injection.” 3

24. A week later, on January 16, 2014, Ohio executed Dennis McGuire with a
    combination of drugs never before used in lethal injection in the United
    States – midazolam and hydromorphone - and he “struggled, made guttural
    noises, gasped for air and choked for about 10 minutes.”4

25. On April 29th, 2014, midazolam, vecuronium bromide (a paralytic), and
    potassium chloride were administered – at least in part - to Clayton Lockett
    in Oklahoma. After he was declared unconscious, he began to speak, raised
    his head, writhed, groaned and took 43 minutes to die, reportedly from a
    heart attack. Midway through these horrific events, the prison drew the
    blinds on the execution chamber, obscuring what really happened from
    public scrutiny.5

26. On July 23rd 2014, it took Arizona death row inmate Joseph Wood nearly
    two hours to die after he was injected – over fifteen times - with midazolam
    and hydromorphone.6

27. The Supreme Court’s grant of certiorari in Glossip was made in the context
    of these horrific events, and Oklahoma’s continued insistence on the use of
    midazolam, a paralytic, and potassium chloride.

   Courts in Texas and Around the Country have Expressed Grave
   Concerns about these Events.

28. The grant of certiorari in Glossip clearly reflects the high courts’ concern
    over the constitutionality of the method of execution at issue there, and the
   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
   3
              Rick Lyman, Ohio Execution Using Untested Drug Cocktail Renews the Debate over
   Lethal Injections, New York Times, Jan. 17, 2014, at A15.
   4
              Alan Johnson, Inmate’s Death Called ‘Horrific’ Under New, 2-Drug Execution, The
   Columbus Dispatch, Jan. 17, 2014.
   5
              Katie Freckland, Clayton Lockett writhed and groaned. After 43 minutes, he was
   declared dead, The Guardian, April 30, 2014, available at
   http://www.theguardian.com/world/2014/apr/30/clayton-lockett-oklahoma-execution-
   witness.
   6
              Michael Muskal, How did Arizona Execution go Wrong, L.A. TIMES, July 24, 2014.



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   appropriate standard by which to evaluate such methods in the current
   landscape.

29. The Court’s concerns were presaged by courts around the county. Texas
    courts expressed concerns about Texas’ behavior and practices, and the
    increasingly fraught lethal injection landscape. Judge Gilmore, in granting
    Plaintiffs’ Motion for Temporary Restraining Order, stated:

              Without some detail about the source of the drugs and the integrity of
              the testing, Plaintiffs are prevented from raising a specific Eighth
              Amendment challenge to their executions. Until Plaintiffs have full
              disclosure of the produce with which Texas will cause their death,
              they cannot fully develop a challenge to its process The question is
              not whether some error may cause a significant chance of pain in the
              execution procedure, but whether even a properly conducted
              execution will result in intolerable pain because of the substance used.

   Sells v. Livingston, No. 4:14-cv-00832 (S.D.Tex. April 2, 2014), slip op. at
   p.5, reversed by Sells v. Livingston, 561 Fed. Appx. 342 (5th Cir. 2014).

30. Although District Court Judge Ellison felt bound by Circuit precedent and
    thus denied Mr. Robert Campbell’s Motion for a Temporary Restraining
    Order, he stated:

              Troublingly, though, in sanctioning the State’s refusal to disclose
              potentially relevant information, Fifth Circuit case law appears to
              leave the inmate with nothing but speculation to rely on.
              ....
              The horrific narrative of Oklahoma’s botched execution of Clayton
              Lockett on April 29, 2014 requires sober reflection on the manner in
              which this nation administers the ultimate punishment. While the law
              currently does not permit injunctive relief, this Court urges the Fifth
              Circuit to reconsider its jurisprudence that seems to shield crucial
              elements of the execution process from open inquiry.

   Campbell v. Livingston, No. 4:14-cv-01241 (S.D.Tex. May 9, 2014), slip op.
   at 2-3.

31. In Missouri, Judge Bye, dissenting from denial of rehearing, eloquently
    expressed his concerns:

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             Missouri continues to frustrate the efforts of inmates such as Rousan
             to investigate the method of execution the State plans to use to end
             their lives. Missouri shields these shadow pharmacies—and itself—
             behind the hangman's cloak by refusing to disclose pertinent
             information to the inmates. This Court is largely left to speculate as to
             the source and quality of the compounded pentobarbital—or whatever
             chemical cocktail du jour Missouri elects to serve this time around. So
             long as Missouri insists on carrying out executions, it is
             fundamentally important the State is sufficiently transparent about its
             protocol to allow adequate review of the constitutionality of its chosen
             method.

  Zink v. Lombardi, 2014 WL 16478528 (C.A.8 (MO.)) (Bye, J., dissenting).

32. From a different perspective, Judge Kozinski, dissenting from denial of
    rehearing en banc, stated forcefully:	  
    	  	  
             Whatever happens to Wood, the attacks will not stop and for a simple
             reason: The enterprise is flawed. Using drugs meant for individuals
             with medical needs to carry out executions is a misguided effort to
             mask the brutality of executions by making them look serene and
             peaceful—like something any one of us might experience in our final
             moments. See Callins v. Collins, 510 U.S. 1141, 1143 (1994) (Scalia,
             J., concurring in denial of certiorari) (“How enviable a quiet death by
             lethal injection . . . .”). But executions are, in fact, nothing like that.
             They are brutal, savage events, and nothing the state tries to do can
             mask that reality. Nor should it. If we as a society want to carry out
             executions, we should be willing to face the fact that the state is
             committing a horrendous brutality on our behalf.
                    If some states and the federal government wish to continue
             carrying out the death penalty, they must turn away from this
             misguided path and return to more primitive—and foolproof—
             methods of execution. The guillotine is probably best but seems
             inconsistent with our national ethos. And the electric chair, hanging
             and the gas chamber are each subject to occasional mishaps. The
             firing squad strikes me as the most promising.
             ....
             While I believe the state should and will prevail in this case, I don’t


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              understand why the game is worth the candle. A tremendous number
              of taxpayer dollars have gone into defending a procedure that is
              inherently flawed and ultimately doomed to failure. If the state wishes
              to continue carrying out executions, it would be better to own up that
              using drugs is a mistake and come up with something that will work,
              instead.

   Wood v. Ryan, No. 14-16310 (8th Cir. July 21, 2014) (AZ) (Kozinski, J.,
   dissenting to denial of rehearing en banc.

33. Numerous other courts have expressed concerns about the efficacy and
    constitutionality of lethal injections in the current landscape, about states’
    determination to avoid transparency, and about the risk that inmates will
    face torturous executions forbidden by the Eighth Amendment. See, e.g.,
    Arthur v. Thomas, 2013 WL 5434694 (M.D. Ala. Sept. 30, 2013) (allowing
    Eighth Amendment claims against execution protocol to proceed); In re:
    Ohio Execution Protocol Litigation, No. 2:11-cv-1016 (Order of May 27,
    2104, staying all further executions to permit adjudication of adequacy of
    new execution protocol); Schad v. Brewer, No. 13-02001-ROS (D. Ariz.
    Oct. 5, 2013) (disclosing that state supply of pentobarbital expired in
    November 2013); Hobbs v. Jones, 412 S.W.3d 844 (Ark. 2012) (finding
    execution protocol in violation of state constitution); Sims v. Dep’t of Corr.
    & Rehab., 157 Cal. Rptr. 3d 409 (Cal. Ct. App. 2013) (finding execution
    protocol in violation of state law); Baze v. Thompson, No. 06-CI-574
    (Franklin Cir. Ct. Dec. 5, 2013) (denying state’s motion to lift injunction
    against executions); State v. Irick, No. M1987-00131-SC-DPE-DD (Tenn.
    Dec. 11, 2013) (staying execution so constitutionality of new execution
    protocol could be evaluated).

   Defendants Have Been and Continue to be Secretive, Dilatory and
   Obstructionist, Refusing To Provide Any But The Most Minimal and
   Ultimately Meaningless Information, Despite a Recent Ruling of a Texas
   Court that Defendants are not Entitled to Withhold Information
   Regarding the Drugs they Use to Carry Out Executions.

34. On December 12, 2014, the 201st Judicial District Court of Travis County
    granted summary judgment in favor of plaintiffs, finding that the decision of
    the Texas Attorney General that TDCJ was entitled to withhold information
    about the source of lethal injection drugs was in error. See Exhibit F. TDCJ


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   is appealing that decision, and has consistently sought dilatory requests for
   opinions from the Attorney General in response to every request they receive
   for information about the lethal injection drugs.

35. A representative sampling of TDCJ’s responses to various Public
    Information Act requests, and the email correspondence accompanying
    same, where available, are attached as Exhibits B, C, D, and E. The
    correspondence reflected in Exhibits B and D display the dilatory and
    obfuscating nature of TDCJ’s responses to such requests. Despite
    impending execution dates, Defendants consistently utilize the full ten days
    allotted under the Texas Public Information Act before replying, taking
    advantage of every holiday and weekday available to them. See Id. Despite
    requests that they share what limited information they reveal via electronic
    means, they send it via the U.S. Postal service. Id. Despite the fact that the
    requests specifically state – in the interest of expediency - that they are not
    seeking information protected by the Public Information Act, TDCJ requests
    an Attorney General Opinion regarding the very information the requestors
    have specified they are not seeking. Id.

36. The limited responsive information provided is often nonresponsive to the
    specific inmate’s request, or simply meaningless. Thus, for example, the
    information provided in response to counsel for Mr. Rodney Reed –
    scheduled for execution on March 3, 2015 – lists expiration dates for the
    drugs purchased in April and July 2014 – despite the fact that records
    provided also reflect that the vials received in April must have already been
    consumed or returned to the supplier, that there were vials received in May
    for which Defendants do not provide a beyond use date, that vials received
    in July will likely be consumed by the time of Mr. Reed’s scheduled
    execution, and Defendant’s do not provide a beyond use date for additional
    drugs received in October 2014. See Exhibit E, pp. 2-4.

   Texas’ Conduct In Purchasing Lethal Injection Drugs Has Been
   Marked By Secrecy And Deceptive Practices.

37. TDCJ purchases its drug supplies using a purchase order stating that the
    drugs are for and to be delivered to the “Huntsville Unit Hospital,” with a
    street address matching that of the Huntsville Unit. See, e.g. Exhibit C, p.2.




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   The Huntsville Unit Hospital has not existed since 1983.7

38. The DEA Form 2228 TDCJ uses to purchase its execution drugs states that
    the registered agent is “TDCJ, Huntsville Unit Hospital,” a “hospital/clinic.”
    The last time TDCJ renewed their DEA registration – in November 2011,
    they removed “Huntsville Unit Hospital” from the registration form. The
    Form 222 TDCJ currently uses is thus false. See Exhibit B, pp. 13, 16;
    Exhibit C, pp. 19-22; Exhibit D, p. 9; Exhibit E, p. 11-15.

39. The last known supplier of execution drugs was the Woodlands Pharmacy.
    After their name was revealed, Woodlands wrote a letter to a member of the
    Texas Board of Criminal Justice and various officials within the Texas
    Department of Criminal Justice, asking for return of their drugs. In the
    letter, Woodland Pharmacy states that a representative of TDCJ made
    statements leading to the ”belief that this information would be kept on the
    ‘down low’ and that it was unlikely that it would be discovered that my
    pharmacy provided these drugs.”9 TDCJ refused to return the drugs as
    requested.

40. Use of a false DEA Form 222 and Purchase Order forms provides cover to
    pharmacies that can only legally provide controlled substances to a medical
    facility pursuant to a doctor’s prescription.

41. Keeping information on the down low, and concealing as much information
    as possible about the source and quality of the drugs precludes scrutiny of
    the quality of the supplier, the API, and the drugs themselves.

   There is a Substantial Risk that the Method by Which Texas Intends to
   Carry out Plaintiffs’ Execution will Result in a Torturous Death.

42. In light of the dwindling supplies and sources for pentobarbital, there is a
    substantial likelihood that the drugs Defendants intend to use to carry out
   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
   7	  See	  Raimer,	  Ben	  and	  Stobo,	  John,	  Health	  Care	  Delivery	  in	  the	  Texas	  Prison	  System,	  

   JAMA,	  July	  28,	  2004	  –	  Vol.	  292,	  No.	  4	  at	  486-­‐487.	  	  	  
   8	  A	  form	  reflecting	  the	  purchaser’s	  registration	  with	  the	  DEA	  authorizing	  purchase	  

   of	  controlled	  substances.	  
   9	  See	  Brandi	  Grissom,	  TDCJ	  Refuses	  to	  Return	  Execution	  Drugs	  to	  Pharmacist,	  Texas	  

   Tribune	  (Oct.	  7,	  2013),	  available	  here:	  	  
   https://www.texastribune.org/2013/10/07/tdcj-­‐refuses-­‐return-­‐execution-­‐drugs-­‐
   pharmacist/	  .	  TDCJ	  refused	  to	  return	  the	  drugs	  as	  Woodlands	  requested.	  	  	  Id.	  

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   Plaintiffs’ executions are not viable, are expired, contaminated, or otherwise
   compromised. See Exhibit G.

43. Records provided by Defendants’ reflect that the drugs they intend to use to
    carry out plaintiffs’ executions are not the same as those used in previous
    executions. See Exhibits B – E. Each batch of drugs purchased is separately
    compounded, likely with a different API. There is no reason to think that
    the reliability and safety of the state’s pentobarbital from batch to batch or
    execution to execution is the same. Exhibit G paras. 23-24. To the contrary,
    in the current landscape there is good reason to think the quality has
    declined. Id. at 19-23.

44. The unorthodox sequences of purchases and returns, the known shortage of
    the API necessary to make compounded pentobarbital, and TDCJ’s secretive
    and deceptive actions, all give rise to grave questions about the adequacy of
    the drugs with which Defendants intend to carry out Plaintiffs’ execution.

45. Drugs that are compromised, contaminated, expired, or sub-potent could
    cause plaintiffs excruciating pain in violation of the 8th Amendment. See
    Affidavit of Larry Sasich, Exhibit G, para. 25, 30; 33, 46; Affidavit of Dr.
    David Waisel, Exhibit H, paras. 6-14.10

46. Defendants have never provided anything other than the redacted lab sheets
    of a subpar laboratory reflecting insufficient and minimal testing as
    purported assurance of some aspects of the potency and purity of a small
    part of an unidentified batch of lethal drugs which may or may not be from
    the same batch used in plaintiffs’ executions. See Exhibit I at paras. 34-35.

47. Defendants have never provided anything other than the bald and
    undocumented and unsupported assertions of their general counsel with
    respected to the beyond use date of the drugs purportedly to be used in
    planned executions. See, e.g., Ex. D, p.3; Ex. E, p. 3.

   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
   10	  The	  affidavits	  of	  Larry	  Sasich	  and	  Dr.	  Waisel	  were	  obtained	  in	  conjunction	  with	  

   prior	  litigation.	  	  They	  thus	  address	  specifics	  as	  to	  Woodlands	  Pharmacy,	  Eagle	  
   Laboratories	  and	  other	  matters	  that	  may	  (or	  may	  not)	  be	  relevant	  to	  these	  
   proceedings.	  	  Nonetheless,	  the	  affidavits	  provide	  ample	  details	  about	  the	  risks	  of	  
   compounding	  pharmacies	  and	  compounded	  drugs	  more	  generally.	  	  Given	  the	  
   emergency	  nature	  of	  these	  proceedings,	  plaintiffs	  did	  not	  have	  time	  to	  obtain	  more	  
   recent	  expert	  affidavits.	  

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48. If Defendants are forced to turn to the alternative drugs they have on hand –
    including midazolam - this matter falls squarely within the parameters of the
    Glossip case pending before the Supreme Court. As the first question in the
    Glossip petition reflects, there is a scientific consensus that midazolam
    cannot reliably produce the deep unconsciousness necessary to ensure that
    administration of the subsequent drugs (here, hydromorphone and / or
    potassium chloride) will not cause excruciating pain.


                                    LEGAL CLAIM

   There is a Grave and Unnecessary Risk that Plaintiffs will Suffer
   Excruciating Pain during the Execution Process, in Violation of the
   Eighth Amendment to the United States Constitution.

49. Plaintiffs re-allege and incorporate by reference the allegations contained in
    paragraph 1 through 48.

50. The Eighth Amendment prohibits cruel and unusual punishments and is
    applicable to the states through the Fourteenth Amendment. Thus, the states
    may not carry out executions in a manner that produces an “unnecessary and
    wanton infliction of pain.” Gregg v. Georgia, 428 U.S. 153, 173 (1976).
    See also Louisiana ex. Rel. Francis v. Resweher, 329 U.S. 459, 463 (1984)
    (prohibition includes the “infliction of unnecessary pain in the execution of a
    death sentence.”). Thus, in Baze v. Rees, the Supreme Court concluded that
    without the initial administration of a sedative, the injection of pancuronium
    bromide (a paralytic) and potassium chloride (which stops the heart) would
    present a “substantial, constitutionally unacceptable risk of suffocation.” Id.,
    552 U.S. 35, 53 (2008).

51. “[S]ubjecting individuals to a risk of future harm – not simply actually
    inflicting pain – can quality as cruel and unusual punishment. Id. at 49.
    Accordingly, a condemned inmate may file suit in state or federal court to
    enjoin his executions on the basis of such an Eighth Amendment challenge.
    See, e.g. Baze v. Rees, supra; Hill v. McDonough, 547 U.S. 573 (2006)
    (holding that Eighth Amendment challenge to lethal injection may be
    brought pursuant to 42 U.S.C. § 1983).

52. Because it is impossible to determine with certainty whether an inmate will
    suffer from unnecessary pain during an execution before that execution

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   occurs, the question of whether a particular execution procedure will inflict
   unnecessary pain involves an inquiry as to whether the inmate is “subject an
   unnecessary risk of constitutional pain or suffering.” Cooper v. Rimmer, 379
   F.3d 1029, 1033 (9th Cir. 2004) (emphasis added); Fierro v. Gomez, 77 F.3d
   301, 307 (9th Cir. 1996) (“Campbell also made clear that the method of
   execution must be considered in terms of the risk of pain.”); Campbell v.
   Wood, 18 F.3d 662, 687 (9th Cir. 1994).

53. A medical or quasi-medical procedure inherently carries a risk that a mistake
    or accident might cause unforeseen pain; therefore, the Eighth Amendment
    does not require executioners to eliminate all possible risks of pain or
    accidents from their execution protocols. See Reswebers, 329 U.S. at 464;
    Campbell, 18 F.3d at 687. The Eighth Amendment does, however, prohibit
    the unnecessary risk of pain.

54. Plaintiffs assert that Defendants actions, extremely limited supply of
    compounded pentobarbital that runs a grave risk of being unviable,
    contaminated, or beyond its use date, and stockpiling of alternative
    execution drugs, including midazolam, combines to expose him to a grave
    risk of unnecessary pain and torture. This risk is neither unforeseen nor
    dependent on accident; it is foreseeable and documented by scientific
    evidence and expert opinion.

55. By virtue of the above stated facts and law, Defendants, in carrying out the
    execution of Plaintiffs, will deprive him of his rights under the Eighth and
    Fourteenth Amendments to be free from cruel and unusual punishment in
    violation of 42 U.S.C. § 1983.




                                PRAYER FOR RELIEF

           1. Temporary, preliminary, and permanent injunctive relief to enjoin the
              Defendants, their officers, agents, servants, employees, and all
              persons acting in concert with them from executing Plaintiffs until
              such time as Defendants can demonstrate the integrity and legality of
              any and all controlled substances they intend to use for Plaintiffs’
              execution;



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        2. Temporary, preliminary, and permanent injunctive relief to enjoin the
           Defendants, their officers, agents, servants, employees, and all
           persons acting in concert with them, from executing Plaintiffs until
           such time as Defendants can demonstrate that measures are in place to
           allow for Plaintiffs’ execution in a manner that complies with the
           Eighth Amendment to the United States Constitution;

        3. Temporary, preliminary, and permanent injunctive relief to enjoin the
           Defendants, their officers, agents, servants, employees, and all
           persons acting in concert with them, from executing Plaintiffs until
           such time as they have been given the opportunity to assess the
           constitutionality of the manner and means by which Defendants
           intend to execute them, and present evidence and testimony regarding
           same.

        4. A declaration that Defendants’ actions violate Plaintiffs’ Eighth and
           Fourteenth Amendment rights;

        5. Any other such relief as this Court deems just and proper.

        6. Plaintiffs also requests that this Court grant reasonable attorneys’ fees
           pursuant to 42 U.S.C. § 1988 and the laws of the United States, as
           well as for costs of suit.


Dated this 27th day of January, 2015.


                                     Respectfully Submitted,

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                          CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the above and forgoing
Pleading has been forwarded to counsel for the defendants by electronic
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